Case 19-27439-MBK   Doc 406-2 Filed 11/04/19 Entered 11/04/19 15:49:09   Desc
                           Exhibit A Page 1 of 11
Case 19-27439-MBK   Doc 406-2 Filed 11/04/19 Entered 11/04/19 15:49:09   Desc
                           Exhibit A Page 2 of 11
Case 19-27439-MBK   Doc 406-2 Filed 11/04/19 Entered 11/04/19 15:49:09   Desc
                           Exhibit A Page 3 of 11
Case 19-27439-MBK   Doc 406-2 Filed 11/04/19 Entered 11/04/19 15:49:09   Desc
                           Exhibit A Page 4 of 11
Case 19-27439-MBK   Doc 406-2 Filed 11/04/19 Entered 11/04/19 15:49:09   Desc
                           Exhibit A Page 5 of 11
Case 19-27439-MBK   Doc 406-2 Filed 11/04/19 Entered 11/04/19 15:49:09   Desc
                           Exhibit A Page 6 of 11
Case 19-27439-MBK   Doc 406-2 Filed 11/04/19 Entered 11/04/19 15:49:09   Desc
                           Exhibit A Page 7 of 11
Case 19-27439-MBK   Doc 406-2 Filed 11/04/19 Entered 11/04/19 15:49:09   Desc
                           Exhibit A Page 8 of 11
Case 19-27439-MBK   Doc 406-2 Filed 11/04/19 Entered 11/04/19 15:49:09   Desc
                           Exhibit A Page 9 of 11
Case 19-27439-MBK   Doc 406-2 Filed 11/04/19 Entered 11/04/19 15:49:09   Desc
                           Exhibit A Page 10 of 11
Case 19-27439-MBK   Doc 406-2 Filed 11/04/19 Entered 11/04/19 15:49:09   Desc
                           Exhibit A Page 11 of 11
